      Case 4:01-cr-40017-JPG        Document 469 Filed 06/11/09             Page 1 of 2     Page ID
                                              #636



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
        Plaintiff,                               )
                                                 )
vs.                                              ) No. 01-cr-40017-012-JPG
                                                 )
KEVIN O. HARDIN,                                 )
                                                 )
        Defendant.                               )

                                  MEMORANDUM AND ORDER

        This matter comes before the Court on defendant Kevin O. Hardin’s Motion for Leave to

Appeal in forma pauperis from the Court’s Order dismissing for lack of jurisdiction his Motion for

Retroactive Application of Sentencing Guidelines under 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 456).

        A federal court may permit a party to proceed on appeal without full pre-payment of fees

provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(3); Fed. R.

App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton, 209 F.3d 1025,

1026-27 (7th Cir. 2000). The test for determining if an appeal is in good faith or not frivolous is

whether any of the legal points are reasonably arguable on their merits. Neitzke v. Williams, 490 U.S.

319, 325 (1989) (citing Anders v. California, 386 U.S. 738 (1967)); Walker v. O’Brien, 216 F.3d 626,

632 (7th Cir. 2000).

        Hardin was sentenced based on relevant conduct that included 13.3 kilograms of crack cocaine.

His guideline range was not lowered by a subsequent amendment to the guidelines. In light of the

Seventh Circuit’s ruling in United States v. Forman, 553 F.3d 585, 588 (7th Cir.2009), cert. denied sub

nom McKnight v. United States, 129 S.Ct. 1924 (Apr. 6, 2009), any argument that this Court has

jurisdiction to decide Hardin’s Motion is frivolous. Therefore, the Court CERTIFIES that this appeal
   Case 4:01-cr-40017-JPG         Document 469 Filed 06/11/09           Page 2 of 2    Page ID
                                            #637



is not taken in good faith and accordingly DENIES the motion for leave to proceed on appeal in forma

pauperis (Doc. 466).

IT IS SO ORDERED.
Dated: June 11, 2009.


                                           s/ J. Phil Gilbert
                                           J. PHIL GILBERT
                                           U.S. DISTRICT JUDGE




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